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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

JOEY P. KIMBLE                                                       PLAINTIFF

V.                         NO. 3:21-cv-183-DPM-ERE

DAVID WEST, et al.                                               DEFENDANTS

                                      ORDER

      Mail sent to Plaintiff Joey P. Kimble from the Court was returned as

“undeliverable.” Docs. 3, 4, 5. Mr. Kimble has failed to inform the Court of his

current address, as required by Local Rule 5.5(c)(2) and this Court’s Initial Order

(Doc. 2).

      If Mr. Kimble wants to pursue the claims he raises in this lawsuit, he must

notify the Court of his current address within 30 days. Failure to comply with this

Order may result in the dismissal of this lawsuit.

      IT IS SO ORDERED this 8th day of October, 2021.




                                       ___________________________________
                                       UNITED STATES MAGISTRATE JUDGE
